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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

ANDES PETROLEUM ECUADOR LTD.,
Case No.: [:21-cv-03930-AKH

Petitioner,

v.
[PROPOSED] FINAL JUDGMENT

OCCIDENTAL EXPLORATION &
PRODUCTION COMPANY,

Respondent.

 

 

WHEREAS, this is a proceeding to confirm an arbitration award pursuant to Chapter 2 of
the Federal Arbitration Act and Article III of the Convention on the Recognition and
Enforcement of Foreign Arbitral Awards (June 10, 1958), 21 U.S.T. 2517;

WHEREAS, Andes Petroleum Ecuador Ltd. (“Petitioner”) sought enforcement of an
arbitration award issued in its favor against Occidental Exploration and Production Company
(“Respondent”) under the Commercial Arbitration Rules of the American Arbitration
Association and administered by the International Centre for Dispute Resolution, in New York,
New York on March 26, 202] CECF No. 3-1, the “Award”);

WHEREAS, Petitioner filed its Petition to Confirm the Award on May 3, 2021 (ECF
Nos. 1-3);

WHEREAS, Respondent filed its Motion to Vacate the Award on June 24, 2021 (ECF
Nos. 27-31);

WHEREAS, the Court granted Petitioner’s Petition to Confirm the Award, and denied
Respondent’s Motion to Vacate the Award on November 15, 2021 (ECF No. 41);

WHEREAS, the Clerk entered judgment “for Petitioner pius costs and interest” on

 
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November 15, 2021 (ECF No. 42),
WHEREAS, the effective portion of the Award titled “Award” provides for OEPC to pay
to Andes:

1. $391,879,747.00 before interest and arbitration costs. (See Award J 347(c).)

2. “[I]nterest on the foregoing principal sum of $391,879,747 ... at the U.S. 1-
month LIBOR rate plus 5%, compounded on a monthly basis... running from
March 4, 2016 until the date of payment.” (See Award 4 347(c)(i).) As of
November 15, 2021, this interest amount is $166,107,500.79.

3. “[R]eimbursment by [OEPC] of [Andes’] share of the Arbitration Costs . . . in the
sum of $557,517.97 with interest on such sum accruing at 9% per annum from the
date of this Award until the date of payment.” (See Award J 347(c)(it).) As of
November 15, 2021, this interest amount is $32,614.80.

The total amount owed by OEPC to Andes pursuant to the Award as of November 15, 2021, is
$558,577,380.56 ($391,879,747.00 + $166, 107,500.79 + $557,517.97 + $32,614.80).
NOW, THEREFORE, IT 1S HEREBY ORDERED, ADJUDGED AND DECREED that
Final Judgment shall be entered as follows:
1. The Award rendered in favor of Petitioner shal! be confirmed in all respects and
judgment shall be entered against Respondent.
2. Respondent shall pay to Petitioner the amount of $558,577,380.56 plus costs and post-
judgment interest pursuant to 28 U.S.C. § 1961 from November 15, 2021 until complete

payment is made.
ENTERED:

 
 
 

  
 

Hénorable Alvin K. Hellerstein
United States District Judge

Dated: December€_ , 2021
New York, New York

 

 
